Case 1:04-cv-01169-.]DT-STA Document 23 Filed 05/09/05 Page 1 of 3 Page|D 15

"'HLED BY._%_ DC
IN THE UNITED sTATEs DIsTRicT CoURT - -
FoR THE WESTERN DISTRICT oF TENNESSEEOS fur 49 pH 2. 2
EASTERN DIVIsIoN soo ` 6
hi'{"r rpi-mv H. Dl T.`Q i.-"i
f ns vs uisrLFr:

i"§r'i_} :"‘; l "|,` A'\ .,
DAVID BILES,' k). TN__JAMK:)GN

Plaintiff,
VS. No. 1-04-1169-T-An

QUENTON WHITE, et al.,

\-/\-/\-/\*/\_/\-_/\_/\_/\_/

Defendants.

 

ORDER DENYING PLAINTIFF’S MOTION FOR APPOINTMENT OF COUNSEL

 

Plaintiff David Biles, an inmate at the Northeast Correctional Complex (“NECX”),
brought this action, pro se, pursuant to 42 U.S.C. § 1983. Before the court is Plaintiff’s
motion for appointment of counsel. Plaintiff argues that counsel is necessary because he is
not familiar With the law or rules of court.

A district court has broad discretion to request an attorney to represent a person
unable to employ counsel. 28 U.S.C. § 1915(e)(1). w Maclin v. Freake, 650 F.2d 885,
886 (7th Cir. 1981); Moss v. Thomas, 299 F.2d 729, 730 (6"‘ Cir. 1962); Turner V. Steward,
497 F. Supp. 557 (E.D. Ky. 1980). “[I]t is well settled that in civil actions the appointment
of counsel should be allowed only in exceptional cases.” Willett v. Wells, 469 F. Supp. 748,
751 (E.D. Term. 1977), ajjr’d, 595 F.2d 1227 (6“‘ Cir. 1979) (quoting Qnited States ex rel.

Gardner v. Madden, 3 52 F.2d 792, 794 (9th Cir. 1965)). The court has considered the merits

Th£s document entered on the docket sheet ln compliance

with sure sa anu;or 19 (a} FncP on fm ' 10 ‘ 45

Case 1:04-cv-01169-.]DT-STA Document 23 Filed 05/09/05 Page 2 of 3 Page|D 16

of the claim, the factual issues raised in the claim, and the complexity of the legal issues
raised in the complaint. The court finds no exceptional circumstances that Warrant
appointment of counsel in this case. Accordingly, the motion of Plaintiff David Bilkes for
appointment of counsel is DENIED.

IT IS SO ORDERED.

 

TED STATES DISTRICT JUDGE

QMMaa-v{
t/

DAT`E

       

UN1TED TAES D1STR1CT OURT - WESTERN D"ISR1CT oF TNNESSEE

mm

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 23 in
case 1:04-CV-01169 Was distributed by faX, mail, or direct printing on
May 10, 2005 to the parties listed.

 

 

K. Michelle Booth

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jacl<son7 TN 38305

David Biles

Northeast Correctional CompleX
277934

P.O. Box 5000

Mountain City, TN 37683

Michael B. SchWegler

Offlce of the Attorney General
P.O. Box 20207

Nashville, TN 37202--020

J ames I. Pentecost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jacl<son7 TN 38305

Honorable J ames Todd
US DISTRICT COURT

